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                      UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF TEXAS
                                 Fort Worth Division

                                                 )
 UNITED STATES OF AMERICA,                       )
                                                 )
        Plaintiff,                               )
                                                 )
                v.                               )    4:21-cr-00005-O
                                                 )
 THE BOEING COMPANY,                             )
                                                 )
        Defendant.                               )
                                                 )

                                            ORDER

       Having considered the Joint Status Report and Motion for Exclusion of Time Under the

Speedy Trial Act filed by the United States of America and The Boeing Company, the Court hereby

ORDERS that:

       The parties continue to meet and confer and provide the Court with an update on how they

plan to proceed in this matter by no later than February 16, 2025; and

       Because the ends of justice are served by allowing the parties additional time to meet and

confer on a potential resolution of this case short of trial, the period of December 5, 2024 to

February 16, 2025, is hereby excluded from the computation of time in which a trial must be

commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A).

       SO ORDERED this 4th day of January, 2025.


                                              _____________________________________
                                              Reed O’Connor
                                              UNITED STATES DISTRICT JUDGE
